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           EXHIBIT E
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                                                              Oregon Public Employees Retirement System LIFO Losses                                                   Teva Pharmaceutical Industries Limited
                                                                                                                                                                           Class Period: 2/10/2014 - 11/3/2016


                                                                                       Sales on Class
              Transaction                                 Class Period   Class Period
Trade Date                  # Shares    Share Price ($)                                   Period               Cost            Proceeds                                  Damage Summary
                 Type                                      Purchases        Sales
                                                                                        Purchases
  3/13/2014    Purchase        17,400         48.7198          17,400             -               -     $     847,724.52                      Total Class Period Purchases:                          1,764,016
  3/13/2014    Purchase        15,500         48.4455          15,500             -               -     $     750,905.25                      Total Class Period Sales:                             (1,042,639)
  3/13/2014    Purchase         2,000         48.7198           2,000             -               -     $      97,439.60                      Total Sales on Class Period Purchases:                (1,042,639)
  3/13/2014    Purchase         2,800         48.4455           2,800             -               -     $     135,647.40                      Total Class Period Shares Retained:                      721,377
  3/19/2014    Purchase         2,200         50.6955           2,200             -               -     $     111,530.10                      90-day Loss Price:                          $            37.6507
  3/19/2014    Purchase         3,700       50.593049           3,700             -               -     $     187,194.28
  3/19/2014    Purchase        13,200         50.6955          13,200             -               -     $     669,180.60                      Total Purchases:                            $      93,927,939.24
  3/19/2014    Purchase           400       50.593049             400             -               -     $      20,237.22                      Total Sales Proceeds:                       $     (56,879,124.69)
   4/2/2014    Purchase         1,600        54.04996           1,600             -               -     $      86,479.94                      Total Retained Value:                       $     (27,160,347.45)
   4/2/2014    Purchase           200       53.893333             200             -               -     $      10,778.67
   4/2/2014    Purchase        10,900        54.04996          10,900             -               -     $     589,144.56                      Total Loss:                                 $       9,888,467.09
   4/2/2014    Purchase         1,400       53.893333           1,400             -               -     $      75,450.67
   4/3/2014    Purchase         2,900           52.98           2,900             -               -     $     153,642.00
   4/3/2014    Purchase        25,500         53.3944          25,500             -               -     $   1,361,557.20
   4/4/2014    Purchase         8,300         53.9521           8,300             -               -     $     447,802.43
   4/4/2014    Purchase        47,300         53.1101          47,300             -               -     $   2,512,107.73
   4/7/2014    Purchase        31,700         52.2613          31,700             -               -     $   1,656,683.21
   4/7/2014    Purchase        15,000         53.0099          15,000             -               -     $     795,148.50
   4/8/2014    Purchase         7,300         51.7563           7,300             -               -     $     377,820.99
   4/8/2014    Purchase        18,800         50.4575          18,800             -               -     $     948,601.00
   4/9/2014    Purchase         8,900         51.3991           8,900             -               -     $     457,451.99
  4/10/2014    Purchase         1,600         52.0684           1,600             -               -     $      83,309.44
  4/10/2014    Purchase         7,300         52.2849           7,300             -               -     $     381,679.77
  4/10/2014    Purchase        21,700          51.356          21,700             -               -     $   1,114,425.20
  4/10/2014    Purchase         3,600           52.51           3,600             -               -     $     189,036.00
  4/10/2014    Purchase        10,900         52.0684          10,900             -               -     $     567,545.56
  4/11/2014    Purchase        12,100         50.4625          12,100             -               -     $     610,596.25
  4/11/2014    Purchase         3,400          50.035           3,400             -               -     $     170,119.00
  5/13/2014    Purchase        20,600         50.8889          20,600             -               -     $   1,048,311.34
  5/14/2014    Purchase        13,700         50.8878          13,700             -               -     $     697,162.86
  5/14/2014    Purchase        13,800         50.7845          13,800             -               -     $     700,826.10
  5/15/2014    Purchase         7,800         49.8912           7,800             -               -     $     389,151.36
  5/21/2014    Purchase         7,200         49.8572           7,200             -               -     $     358,971.84
  5/21/2014    Purchase         8,000          50.204           8,000             -               -     $     401,632.00
  5/22/2014    Purchase        10,300          50.687          10,300             -               -     $     522,076.10
  5/22/2014    Purchase        12,300         50.4675          12,300             -               -     $     620,750.25
  5/22/2014    Purchase         2,800           50.39           2,800             -               -     $     141,092.00
  5/23/2014    Purchase        11,900          51.551          11,900             -               -     $     613,456.90
  5/27/2014    Purchase        14,000         51.5083          14,000             -               -     $     721,116.20
   7/7/2014      Sale           5,700         54.1499             -            (5,700)        (5,700)                      $   (308,654.43)
  7/14/2014    Purchase        58,100          54.505          58,100             -               -     $   3,166,740.50
  7/14/2014    Purchase         1,282       54.758097           1,282             -               -     $      70,199.88
  7/14/2014    Purchase         9,800         54.7885           9,800             -               -     $     536,927.30
  7/14/2014    Purchase         1,283         54.7581           1,283             -               -     $      70,254.64
  7/15/2014    Purchase           573         54.5421             573             -               -     $      31,252.62




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                                               Oregon Public Employees Retirement System LIFO Losses                Teva Pharmaceutical Industries Limited
                                                                                                                         Class Period: 2/10/2014 - 11/3/2016


 7/15/2014   Purchase    16,906      54.5421    16,906       -         -      $     922,088.74
 7/16/2014   Purchase     1,112    54.171196     1,112       -         -      $      60,238.37
 7/16/2014   Purchase    32,811      54.1712    32,811       -         -      $   1,777,411.24
 7/17/2014   Purchase    28,925      53.7872    28,925       -         -      $   1,555,794.76
 7/17/2014   Purchase       980      53.7872       980       -         -      $      52,711.46
 7/30/2014     Sale       7,609      54.6243       -      (7,609)   (7,609)                      $   (415,636.30)
 8/15/2014   Purchase     2,169      51.8385     2,169       -         -      $     112,437.71
 8/18/2014   Purchase     1,852      52.1583     1,852       -         -      $      96,597.17
 8/19/2014   Purchase       672      52.4574       672       -         -      $      35,251.37
 8/27/2014   Purchase     1,609      52.4424     1,609       -         -      $      84,379.82
 8/28/2014   Purchase     2,810      52.1446     2,810       -         -      $     146,526.33
  9/3/2014   Purchase     9,788      52.5237     9,788       -         -      $     514,101.98
  9/4/2014   Purchase       194      52.0118       194       -         -      $      10,090.29
  9/8/2014   Purchase    26,746       52.175    26,746       -         -      $   1,395,472.55
 9/23/2014   Purchase    19,948      52.0045    19,948       -         -      $   1,037,385.77
 9/24/2014   Purchase   128,479      53.1881   128,479       -         -      $   6,833,553.90
 9/24/2014   Purchase    14,008      53.1602    14,008       -         -      $     744,668.08
 9/25/2014   Purchase     9,381       53.619     9,381       -         -      $     502,999.84
 9/26/2014   Purchase    62,253    53.610972    62,253       -         -      $   3,337,443.84
 9/29/2014   Purchase    37,372    54.119696    37,372       -         -      $   2,022,561.28
 10/3/2014   Purchase    17,841      54.9528    17,841       -         -      $     980,412.90
10/14/2014   Purchase    33,126        49.81    33,126       -         -      $   1,650,006.06
10/15/2014   Purchase     6,349      48.6971     6,349       -         -      $     309,177.89
10/16/2014   Purchase     6,214      51.0638     6,214       -         -      $     317,310.45
10/20/2014   Purchase     1,287       51.477     1,287       -         -      $      66,250.90
10/21/2014   Purchase       944      52.5911       944       -         -      $      49,646.00
10/27/2014   Purchase     2,529      54.0563     2,529       -         -      $     136,708.38
10/27/2014   Purchase       678      54.0563       678       -         -      $      36,650.17
10/28/2014   Purchase     1,592      54.7784     1,592       -         -      $      87,207.21
10/28/2014   Purchase       427      54.7784       427       -         -      $      23,390.38
 11/4/2014   Purchase       400      57.9344       400       -         -      $      23,173.76
 11/4/2014   Purchase     3,100      57.9344     3,100       -         -      $     179,596.64
 11/5/2014   Purchase     9,752           58     9,752       -         -      $     565,616.00
 11/5/2014   Purchase     1,100         57.9     1,100       -         -      $      63,690.00
 11/5/2014   Purchase       500      57.8082       500       -         -      $      28,904.10
 11/5/2014   Purchase       100         57.9       100       -         -      $       5,790.00
 11/5/2014   Purchase     1,656           58     1,656       -         -      $      96,048.00
 11/5/2014   Purchase       100      57.8082       100       -         -      $       5,780.82
11/12/2014   Purchase     1,747      58.3553     1,747       -         -      $     101,946.71
11/12/2014   Purchase     3,866      58.3553     3,866       -         -      $     225,601.59
11/13/2014   Purchase     1,815      58.0044     1,815       -         -      $     105,277.99
11/13/2014   Purchase     2,656      57.6725     2,656       -         -      $     153,178.16
11/13/2014   Purchase     1,201      57.6725     1,201       -         -      $      69,264.67
11/13/2014   Purchase       820      58.0044       820       -         -      $      47,563.61
11/17/2014   Purchase    22,716      57.9324    22,716       -         -      $   1,315,992.40
11/17/2014   Purchase     9,371      57.4861     9,371       -         -      $     538,702.24
11/18/2014   Purchase     7,825      57.3322     7,825       -         -      $     448,624.47
11/19/2014   Purchase     2,514      57.3071     2,514       -         -      $     144,070.05




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11/21/2014   Purchase      100      57.4188      100        -          -      $       5,741.88
11/21/2014   Purchase    3,774    57.325199    3,774        -          -      $     216,345.30
11/21/2014   Purchase      800      57.4188      800        -          -      $      45,935.04
11/21/2014   Purchase   23,875      57.3252   23,875        -          -      $   1,368,639.15
12/19/2014   Purchase    9,821    57.973359    9,821        -          -      $     569,356.36
12/19/2014   Purchase    1,700    57.033281    1,700        -          -      $      96,956.58
12/19/2014   Purchase    1,633    57.973359    1,633        -          -      $      94,670.50
12/19/2014   Purchase      200      57.0333      200        -          -      $      11,406.66
12/29/2014     Sale        483      57.2335      -         (483)      (483)                      $     (27,643.78)
  1/8/2015   Purchase   32,597      57.9285   32,597        -          -      $   1,888,295.31
 1/21/2015   Purchase   22,855       58.447   22,855        -          -      $   1,335,806.19
 1/23/2015     Sale      7,751      58.9271      -       (7,751)    (7,751)                      $    (456,743.95)
 1/23/2015     Sale      1,273      58.9271      -       (1,273)    (1,273)                      $     (75,014.20)
 1/26/2015     Sale      4,754    58.666199      -       (4,754)    (4,754)                      $    (278,899.11)
 1/26/2015     Sale        781      58.6662      -         (781)      (781)                      $     (45,818.30)
 1/27/2015     Sale      4,648    58.907799      -       (4,648)    (4,648)                      $    (273,803.45)
 1/27/2015     Sale        764      58.9078      -         (764)      (764)                      $     (45,005.56)
 1/28/2015     Sale        625      58.2432      -         (625)      (625)                      $     (36,402.00)
 1/29/2015     Sale      1,226      57.3932      -       (1,226)    (1,226)                      $     (70,364.06)
 1/30/2015     Sale      2,075      57.2759      -       (2,075)    (2,075)                      $    (118,847.49)
  2/2/2015     Sale        275      56.9866      -         (275)      (275)                      $     (15,671.32)
  2/3/2015     Sale        659    57.021593      -         (659)      (659)                      $     (37,577.23)
  2/4/2015     Sale      1,897      56.6754      -       (1,897)    (1,897)                      $    (107,513.23)
  2/5/2015     Sale      3,938      57.6033      -       (3,938)    (3,938)                      $    (226,841.80)
  2/6/2015   Purchase   23,277      57.9096   23,277        -          -      $   1,347,961.76
  2/6/2015     Sale      5,018      57.6574      -       (5,018)    (5,018)                      $     (289,324.83)
  2/9/2015     Sale      5,857       56.687      -       (5,857)    (5,857)                      $     (332,015.76)
 2/10/2015     Sale      4,626      57.0564      -       (4,626)    (4,626)                      $     (263,942.91)
 2/11/2015     Sale      6,950      56.9917      -       (6,950)    (6,950)                      $     (396,092.32)
 2/12/2015     Sale      9,615      57.1734      -       (9,615)    (9,615)                      $     (549,722.24)
 2/13/2015     Sale      3,023      56.8203      -       (3,023)    (3,023)                      $     (171,767.77)
 2/17/2015     Sale     29,488      56.9593      -      (29,488)   (29,488)                      $   (1,679,615.84)
 2/17/2015     Sale      3,011      57.0308      -       (3,011)    (3,011)                      $     (171,719.74)
 2/18/2015     Sale      1,944      56.8934      -       (1,944)    (1,944)                      $     (110,600.77)
 2/19/2015     Sale      2,421      56.3028      -       (2,421)    (2,421)                      $     (136,309.08)
 2/20/2015     Sale        213      56.4909      -         (213)      (213)                      $      (12,032.56)
 2/23/2015     Sale        225      56.7665      -         (225)      (225)                      $      (12,772.46)
 2/24/2015     Sale        311      56.7478      -         (311)      (311)                      $      (17,648.57)
 2/25/2015     Sale     18,859      56.4713      -      (18,859)   (18,859)                      $   (1,064,992.25)
 2/25/2015     Sale         16      56.4713      -          (16)       (16)                      $         (903.54)
 2/26/2015     Sale     17,511         56.5      -      (17,511)   (17,511)                      $     (989,371.50)
 2/26/2015     Sale         15         56.5      -          (15)       (15)                      $         (847.50)
 2/27/2015     Sale     24,130      56.7916      -      (24,130)   (24,130)                      $   (1,370,381.31)
 2/27/2015     Sale         20      56.7916      -          (20)       (20)                      $       (1,135.83)
 3/11/2015     Sale      3,464      57.7235      -       (3,464)    (3,464)                      $     (199,954.20)
 3/12/2015     Sale      3,650       59.349      -       (3,650)    (3,650)                      $     (216,623.85)
 3/13/2015     Sale      3,086      59.9834      -       (3,086)    (3,086)                      $     (185,108.77)
 3/16/2015     Sale     18,520      60.4287      -      (18,520)   (18,520)                      $   (1,119,139.52)




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 3/17/2015     Sale     24,990      60.9906      -      (24,990)   (24,990)                      $ (1,524,155.09)
 3/18/2015     Sale     28,651      61.3606      -      (28,651)   (28,651)                      $ (1,758,042.55)
  5/8/2015   Purchase    2,700    60.568799    2,700        -          -      $    163,535.76
  5/8/2015   Purchase    3,200    60.902666    3,200        -          -      $    194,888.53
  5/8/2015   Purchase      100    61.000917      100        -          -      $      6,100.09
  5/8/2015   Purchase      300    60.568799      300        -          -      $     18,170.64
  5/8/2015   Purchase      400    60.902666      400        -          -      $     24,361.07
 5/22/2015     Sale     36,343      61.2554      -      (36,343)   (36,343)                      $ (2,226,205.00)
  6/1/2015   Purchase   44,701      60.2517   44,701        -          -      $   2,693,311.24
  6/2/2015   Purchase   39,399      60.4285   39,399        -          -      $   2,380,822.47
 6/15/2015     Sale     84,100        60.68      -      (84,100)   (84,100)                      $ (5,103,188.00)
 7/27/2015   Purchase   34,620       68.982   34,620        -          -      $   2,388,156.84
 7/30/2015   Purchase   30,375       70.014   30,375        -          -      $   2,126,675.25
 8/27/2015   Purchase   20,426       65.296   20,426        -          -      $   1,333,736.10
 9/16/2015     Sale     18,200      64.7177      -      (18,200)   (18,200)                      $   (1,177,862.14)
 9/16/2015     Sale     61,300      64.9044      -      (61,300)   (61,300)                      $   (3,978,639.72)
 9/17/2015     Sale     18,900      64.5107      -      (18,900)   (18,900)                      $   (1,219,252.23)
 9/17/2015     Sale     19,300       64.566      -      (19,300)   (19,300)                      $   (1,246,123.80)
 9/18/2015     Sale     14,400      64.0706      -      (14,400)   (14,400)                      $     (922,616.64)
 9/18/2015     Sale     20,000      63.7239      -      (20,000)   (20,000)                      $   (1,274,478.00)
 10/1/2015   Purchase      618      57.2733      618        -          -      $      35,394.90
 10/2/2015   Purchase      782      58.9911      782        -          -      $      46,131.04
 10/6/2015     Sale      2,000     58.32102      -       (2,000)    (2,000)                      $    (116,642.04)
 10/9/2015     Sale        594      58.8795      -         (594)      (594)                      $     (34,974.42)
10/12/2015     Sale        397      58.9071      -         (397)      (397)                      $     (23,386.12)
10/13/2015     Sale        409      58.7252      -         (409)      (409)                      $     (24,018.61)
 12/3/2015   Purchase   20,700      64.1113   20,700        -          -      $   1,327,103.91
 12/3/2015   Purchase   10,500         62.5   10,500        -          -      $     656,250.00
 12/3/2015   Purchase   12,968         62.5   12,968        -          -      $     810,500.00
 12/3/2015   Purchase    2,113         62.5    2,113        -          -      $     132,062.50
12/17/2015     Sale     16,200      65.6333      -      (16,200)   (16,200)                      $ (1,063,259.46)
 1/20/2016   Purchase    4,100      61.1073    4,100        -          -      $     250,539.93
 5/18/2016   Purchase   18,431      51.8598   18,431        -          -      $     955,827.97
 5/19/2016   Purchase   18,142      51.7643   18,142        -          -      $     939,107.93
 6/13/2016   Purchase   28,100      53.2863   28,100        -          -      $   1,497,345.03
 6/13/2016   Purchase    4,000        53.36    4,000        -          -      $     213,440.00
 6/14/2016   Purchase    7,400      53.1029    7,400        -          -      $     392,961.46
 6/14/2016   Purchase   12,900       53.228   12,900        -          -      $     686,641.20
 6/14/2016   Purchase   13,070      53.4325   13,070        -          -      $     698,362.78
 7/14/2016     Sale     76,600      54.5209      -      (76,600)   (76,600)                      $ (4,176,300.94)
 7/27/2016   Purchase    4,900      55.1031    4,900        -          -      $    270,005.19
 8/30/2016     Sale     64,805      50.6992      -      (64,805)   (64,805)                      $   (3,285,561.66)
 8/31/2016     Sale     89,620      50.3994      -      (89,620)   (89,620)                      $   (4,516,794.23)
 10/3/2016     Sale     72,355      45.8121      -      (72,355)   (72,355)                      $   (3,314,734.50)
 10/5/2016     Sale     39,479       45.084      -      (39,479)   (39,479)                      $   (1,779,871.24)
10/11/2016   Purchase   22,472      44.7827   22,472        -          -      $   1,006,356.83
10/11/2016   Purchase    1,869       44.822    1,869        -          -      $      83,772.32
10/11/2016   Purchase   10,562      44.5347   10,562        -          -      $     470,375.50




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                                                                                                                          Class Period: 2/10/2014 - 11/3/2016


10/11/2016   Purchase     2,047      44.945    2,047        -           -      $      92,002.42
10/12/2016   Purchase    16,777     44.0772   16,777        -           -      $     739,483.18
10/12/2016   Purchase    95,040     44.2059   95,040        -           -      $   4,201,328.74
10/12/2016     Sale      37,417     44.4165      -      (37,417)    (37,417)                      $ (1,661,932.18)
10/13/2016   Purchase    63,903     44.2025   63,903        -           -      $   2,824,672.36
10/14/2016   Purchase    18,510     44.3432   18,510        -           -      $     820,792.63
10/17/2016   Purchase    19,060     42.7256   19,060        -           -      $     814,349.94
10/17/2016     Sale     110,148     41.9311      -     (110,148)   (110,148)                      $ (4,618,626.80)
10/18/2016   Purchase    17,338     42.1181   17,338        -           -      $    730,243.62
10/18/2016   Purchase     9,582      42.325    9,582        -           -      $    405,558.15




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